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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 24-2716

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

. - Dh. ~
This summons for (name of individual and title, if any) C ‘ + \ oO ) h, * f c ly h: “

was received by me on (date) b / d_| / 2OVY |

[-] I personally served the summons on the individual at (place)

on (date) 6 Red ; or

[-] I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

JN served the summons on (name of individual) (VU. . } (- tO C a \s “ , who is
designated by law to pee service of process on behalf of (name of organization) Ce + 4

of Phe le Lolo *o On (date) b [207 Xoxdror

Qt 22h pom.
L_] I returned the summons unexecuted because 5 or
[] Other (specify):
My fees are $ QD for travel and $ O for services, for a total of $ ft)

I declare under penalty of perjury that this information is true.

Date: h/t [| ser¥ cheectl Aver Auuocloel—

Server's signature

Deacel J. Acar bo ch , Counse } fe P (oon eFES

Printed name and title

a4 6 bth A, lor3, PY, PA [4106

Server’s address

Additional information regarding attempted service, etc:
